        Case: 2:15-cv-03077-ALM-EPD Doc #: 110 Filed: 08/22/18 Page: 1 of 1 PAGEID #: 1795
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                        SouthernDistrict
                                                    __________   Districtofof__________
                                                                              Ohio

                     Amie L. Morningstar                              )
                             Plaintiff                                )
                                v.                                    )       Civil Action No. 2:15-cv-3077
        Circleville Fire & EMS Department, et al.                     )
                            Defendant                                 )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                           recover from the
defendant (name)                                                                                                    the amount of
                                                                             dollars ($                ), which includes prejudgment
interest at the rate of                    %, plus post judgment interest at the rate of              % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              The jury returned a verdict in favor of Plaintiff and against Defendants in the amount of $3,250,000.00 in
               compensatory damages and $100,001.00 in favor of Plaintiff against Defendant Marc Zingarelli in punitive
               damages related to her intentional infliction of emotional distress claim.                                              .

This action was (check one):

✔
u tried by a jury with Judge             Algenon L. Marbley                                              presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                           without a jury and the above decision
was reached.

u decided by Judge                                                                               on a motion for

                                                                                                                                       .

Date:       8/22/18                                                          CLERK
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